                 Case 2:21-mj-30193-DUTY ECF No. 1, PageID.1
                                              AUSA:            Filed 04/27/21 Telephone:
                                                      Robert Moran              Page 1 of   7 226-9553
                                                                                         (313)
AO 91 (Rev. ) Criminal Complaint            Special Agent:          Matthew C. Schuff, FBI       Telephone: (248) 879-6090

                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                Eastern District of Michigan
United States of America
                                                                                      Case: 2:21-mj-30193
   v.
                                                                                      Judge: Unassigned,
D-1 Antonio Jones                                                         Case No.     Filed: 04-27-2021 At 09:23 AM
    a/k/a: Antonio Draco Jones, Jr.,                                                  USA v. SEALED MATTER (CMP)(MLW
D-2 Deshawn Bates,
D-3 Chance Reed




                                                  CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of                   June 18, 2019               in the county of    Wayne and elsewhere     in the
       Eastern            District of      Michigan        , the defendant(s) violated:
                  Code Section                                            Offense Description
18 U.S.C. § 1951(a)                                     Hobbs Act Robbery




         This criminal complaint is based on these facts:

See attached affidavit.




✔ Continued on the attached sheet.

                                                                                          Complainant’s signature

                                                                                 Matthew C. Schuff, Special Agent, FBI
                                                                                           Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date: April 27, 2021                                                                         Judge’s signature

City and state: Detroit, MI                                               Hon. Anthony P. Patti, United States Magistrate Judge
                                                                                           Printed name and title
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                     AFFIDAVIT IN SUPPORT OF
             AN APPLICATION FOR AN ARREST WARRANT


      I, Matthew C. Schuff, being duly sworn, state as follows:

                                INTRODUCTION

      1.     I am a Special Agent with the Federal Bureau of Investigation (“FBI”)

and have been so employed for over twelve years. I am currently assigned to the

Detroit Division of the FBI, Oakland County Resident Agency. In this capacity, I

am charged with conducting federal criminal investigations, to include

investigations of Hobbs Act robberies.

      2.     I make this affidavit in support of an application for an arrest warrant

for ANTONIO JONES, DESHAWN BATES, and CHANCE REED. It is for the

limited purpose of establishing probable cause and may not include all the

information collected during this investigation.

      3.     The facts in this affidavit come from my personal observations,

training, experience, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrants and does not set forth all of my knowledge about this

matter.




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      4.     Based upon the following information, there is probable cause to

believe that the above-named individuals committed the crime of Conspiracy to

Interfere with Commerce by Robbery, in violation of 18 U.S.C. § 1951(a).

                   EXPLANATION OF THE VIOLATIONS

      5.     Pursuant to Title 18 U.S.C. section 1951(a) (commonly known as

“The Hobbs Act” or “Hobbs Act Robbery”) it is a violation of federal law to

interfere with commerce by robbery or extortion. The Hobbs Act also punishes

conspiracy and attempts to affect interstate or foreign commerce by robbery or

extortion. Proof of the robbery requires a showing that the defendant unlawfully

took or obtained tangible personal property from the victim's person or in his

presence without the victim's consent and that the defendant used actual or

threatened force, violence, or fear of physical injury to the person or property of

the victim or others accompanying the victim. 18 U.S.C. § 1951(b)(1).

Furthermore, it is considered an interference with commerce if the robbery or

extortion "in any way or degree obstructs, delays, or affects commerce or the

movement of any article or commodity in commerce."

      6.     Signet Jewelers Limited, is the parent company of retail jewelry stores

such as Jared’s Galleria of Jewelry (“Jared’s), Zale’s and Kay Jewelers and

conducts business across the United States. Signet owned stores, such as Jared’s,

sell gems mined from outside the United States with interstate distribution that


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originates in Akron, Ohio. The merchandise leaves the Akron, Ohio distribution

center and is distributed to various stores across the country.

                               PROBABLE CAUSE

                           “Smash and Grab” Robberies

      7.     Since August of 2018, the FBI has been investigating a string of

similar “smash and grab” style robberies at jewelry stores. During these robberies,

the robbers use hand-held sledge hammers and hammers to break glass display

cases and enclosures and then take diamonds and other jewelry. Over 30 such

instances—all fitting similar description and modus operandi—have occurred

since August of 2018 in the Eastern and Western Districts of Michigan, as well as

in Illinois, Indiana, Ohio, Pennsylvania, and as far away as Alabama, Florida,

Louisiana, New Hampshire, South Carolina, and Tennessee. Investigation to date

has shown that many of the robberies are connected and involve numerous subjects

who live in the Detroit area and are planning and coordinating the robberies from

the Detroit area.

COLLIERVILLE TENNESSEE ATTEMPTED “SMASH AND GRAB” ROBBERY

      8.     On June 18, 2019 a smash and grab robbery attempt in Collierville,

Tennessee was stopped when a local detective noticed suspicious activity at a local

Jared’s Jewelry store. During this attempt ANTONIO JONES, DESHAWN

BATES, and CHANCE REED were arrested following a robbery in progress. The


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MO from this attempt was similar to the string of robberies that was being

investigated by the FBI Detroit Division. Three individuals were arrested, and all

were from the Detroit area.

      9.     At the time of the robbery, Detective Roberts from the Collierville

Police Department (CPD) was in the area of Jared’s and observed a vehicle (the

SUBJECT VEHICLE) backing in and out of parking spots at an adjacent store

parking lot. Detective Roberts found these movements suspicious and continued to

observe the vehicle. As a mall security vehicle drove by, Detective Roberts

observed the vehicle as it moved to another spot. Detective Roberts then observed

the vehicle pull into the parking lot of Jared’s.

      10.    The SUBJECT VEHICLE backed into a parking space in front of the

front door of the Jared’s. Detective Roberts observed a suspect exit the vehicle and

sprint into the Jared’s. Detective Roberts then positioned his police vehicle in the

Jared’s parking lot and observed a male driver in the SUBJECT VEHICLE. A gray

shirt was covering the license plate of the SUBJECT VEHICLE.

      11.    When backup officers arrived, the driver of the vehicle, later

identified as CHANCE REED, of Detroit, was placed into custody. As officers

entered Jared’s, they observed employees on the ground and were advised that two

suspects ran out of the south door of the store. The two fleeing suspects were

apprehended on scene by additional CPD units that arrived on scene. The suspects


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were later identified as DESHAWN BATES and ANTONIO JONES, also of

Detroit.

      12.   According to the CPD report, witnesses in the store stated the two

males (BATES and JONES) entered Jared’s and demanded everyone get to the

back of the store and onto the floor. The suspects then stole two iPhones from two

employees and demanded that the employees open the display cases containing

loose diamonds and rings. The suspects yelled “two minutes” and “hurry” as they

removed diamonds from the display cases and placed them into bags.

      13.   When police were observed outside, the suspects forced a store

employee to open a side emergency door in an attempt to escape. BATES and

JONES ran out of the store. After BATES and JONES were arrested by responding

officers, two bags were located. One bag containing diamonds from the display

cases was located behind the counter. This bag contained diamonds worth

approximately $181,500. A second bag was located behind an adjacent building, in

close proximity to where BATES and JONES fled, along with a set of gloves that

matched gloves observed on the suspects during the robbery. This bag was secured

and contained stolen diamonds worth approximately $131,600.

      14.   Following the arrests, Collierville Police determined all three suspects

were from Detroit, Michigan. Each suspect was read his Miranda rights and

provided a statement to police. BATES, JONES, and REED each told police that


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they drove to Tennessee from Detroit, and attempted to rob the store with the intent

of making money off the diamonds. REED further advised he believed he would

make the money selling diamonds when they returned to Detroit.

      15.    JONES, BATES, and CHANCE REED have been detained pending

trial on state charges in Tennessee since their arrests.

                                   CONCLUSION

      16.    Based on the above, there is probable cause to believe

ANTONIO JONES, DESHAWN BATES and CHANCE REED committed the

offense of Conspiracy to Interfere with Commerce by Robbery, in violation of 18

U.S.C. Section 1951(a).


                                               Respectfully submitted,



                                               Matthew C. Schuff
                                               Special Agent, FBI Detroit


Sworn to before me and signed in my
presence and/or by reliable electronic means.


___________________________________
HON. ANTHONY P. PATTI
UNITED STATES MAGISTRATE JUDGE

Date: April 27, 2021


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